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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

USA                                             §
                                                §
vs.                                             §        NO: EP:24-CR-01590(1)-KC
                                                §
(1) JOSE ANTONIO                                §
JAQUEZ-MANCILLAS

            REPORT AND RECOMMENDATION OF MAGISTRATE JUDGE
                    UPON DEFENDANT’S PLEA OF GUILTY

       On this 17th day of December, 2024, the Defendant and counsel appeared before the

Court. After being admonished as required by Rule 11, Fed. R. Crim. P., the Defendant pled

guilty to Count One of the Information charging him with Conspiracy to Transport Aliens, in

violation of Title 8 U.S.C. §§ 1324(a)(1)(A)(v)(I), (a)(1)(A)(ii), and (a)(1)(B)(i), pursuant to a

Plea Agreement.

       Accordingly, the Court makes the following findings:

       1.      The Defendant has consented to the entry of a guilty plea before a Magistrate

               Judge, subject to final approval and sentencing by the presiding United States

               District Judge.

       2.      The Defendant fully understands the oath and the consequences of failing to tell

               the truth at the plea hearing.

       3.      The Defendant fully understands the right to plead “not guilty” and to be tried by a

               jury.

       4.      The Defendant fully understands the right to be represented by counsel at trial and

               at every other stage of the proceeding.
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5.    The Defendant fully understands the right to a trial and that if the Defendant were

      to elect to go to trial, the Defendant would have the right to confront and

      cross-examine      adverse    witnesses,   to   be   protected   from    compelled

      self-incrimination, to testify and present evidence, and to compel the attendance of

      witnesses.

6.    The Defendant fully understands that if the guilty plea is accepted, there will not

      be a trial in this case.

7.    The Defendant fully understands the nature of the charge, the immigration

      consequences, and the maximum possible penalties, including any imprisonment,

      applicable mandatory minimum penalties, fine, term of supervised release, as well

      as any forfeiture or restitution.    The defendant also understands the court’s

      obligation to impose a special assessment.

8.    The Defendant fully understands that in determining sentence, the sentencing

      court will consider the applicable Sentencing Guidelines, including any departures

      that might be applicable, as well as the sentencing factors under 18 U.S.C. §

      3553(a). The Defendant also fully understands that although the sentencing court

      will consider the applicable sentencing guidelines, they are advisory in nature.

9.    The Defendant fully understands the terms of the Plea Agreement. The Defendant

      also fully understands that in the Plea Agreement, the Defendant has waived the

      right to appeal or collaterally attack the sentence or conviction to be imposed by

      the District Judge. The Defendant also understands that, if the court does not

      follow or apply any recommended or requested sentencing adjustments contained
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               in the Plea Agreement, the Defendant will have no right to withdraw the plea of

               guilty.

       10.     The Defendant’s plea was not induced by any promises other than those set forth

               in the Plea Agreement, and the Defendant’s plea was not induced by any threats,

               force or threats of force.

       11.     The Defendant acknowledged that defense counsel explained the immigration

               consequences of the plea of guilty.

       12.     The Defendant is competent to enter a plea.

       13.     The Defendant’s plea is made freely, knowingly, and voluntarily.

       14.     There is a factual basis to support the plea of guilty.

       15.     The Defendant, in open court, waived the right to prosecution by Indictment, and

               instead consented to proceed by Information.

                                     RECOMMENDATION

       Based on the foregoing, it is recommended to the district judge that the Defendant’s plea

of guilty be accepted and that a judgment of guilt be entered.

       SIGNED and ENTERED this 17th day of December, 2024.


                                                     ______________________________
                                                     MIGUEL A. TORRES
                                                     UNITED STATES MAGISTRATE JUDGE

                                             NOTICE

FAILURE TO FILE WRITTEN OBJECTIONS TO THE FINDINGS AND
RECOMMENDATION CONTAINED IN THE FOREGOING REPORT, PRIOR TO
SENTENCING, MAY BAR DE NOVO DETERMINATION BY THE DISTRICT JUDGE
OF AN ISSUE COVERED HEREIN AND SHALL BAR APPELLATE REVIEW OF
SUCH FACTUAL FINDINGS AS MAY BE ACCEPTED OR ADOPTED BY THE
DISTRICT JUDGE.
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